       Case 1:23-cr-00490-SHS            Document 128          Filed 01/15/24         Page 1 of 2




                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York


                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       January 15, 2024

BY ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Robert Menendez, et. al,
               S2 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully submits this letter in response to the January 13, 2024 letter
motion filed by defendant Robert Menendez in the above-captioned matter requesting a one-week
extension of the defendants’ deadline to file suppression motions, in light of certain documents
recently provided by the Government. (Dkt. No. 127 (“Def. Ltr.”).) The Government writes to
(a) clarify its position on the defendant’s request and (b) briefly correct the record regarding the
defendant’s characterization of the Government’s document productions.

         First, to avoid the substantial inefficiencies in briefing multiple suppression motions, likely
concerning the same or similar warrants, on separate schedules, the Government consents to the
requested extension on the condition that it applies to its time to respond to all defense suppression
motions. Prior to the defendant filing his letter motion, the Government accordingly advised
defense counsel by email that while the Government does not believe that the documents upon
which his motion rests are material to a suppression motion, the Government did not object to the
defendant’s limited request, provided that the Government’s corresponding deadline, for all
suppression motions, moves by the same period of time. Although the defendant appears to state
correctly the Government’s position at the beginning of his letter, in the concluding paragraph of
his letter, he requests that only his own deadline be extended to January 22, 2024 and appears to
suggest that, if his motion is granted, the Government’s deadline for responding to only the
defendant’s suppression motion be moved by the corresponding time period. (Compare Def. Ltr.
at 1 (extension requested as to “the defendants’ deadline” and the Government’s response), with
id. at 2 (request as to “Senator Menendez’s deadline” and the Government’s response).) To clarify,
the Government requests that, to the extent the Court grants the defendant’s motion, the
Government be permitted to file its response to all suppression motions—not just those filed by
the defendant—three weeks later (i.e., on February 12, 2024, if the defendant’s requested one-
       Case 1:23-cr-00490-SHS           Document 128         Filed 01/15/24      Page 2 of 2

Honorable Sidney H. Stein
January 15, 2024
Page 2

week extension is granted). That approach would permit the Government to respond to all
suppression motions on the same schedule, and, to the extent warranted, in one filing, which is
expected to be most efficient given the relevant law, procedural history, and facts, and would
similarly permit the defendants to file their replies, should they wish to do so, on one schedule.

        Second, while the Government, as a professional courtesy, does not object to the requested
extension (provided that it receives a commensurate extension to respond to all suppression
motions), the Government notes that the defendant’s characterization of the Government as
belatedly “relent[ing]” to defense requests (Def. Ltr. at 1) is materially inaccurate. The
Government does not intend to recite the history of its correspondence with and productions to the
defendant in detail unless requested, given that it is immaterial to the requested extension, but that
history shows that the Government has engaged in repeated, diligent, and good-faith engagement
with the defendant and has made productions well exceeding its legal obligations. 1

                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney

                                                By:   s/ Lara Pomerantz
                                                      Eli J. Mark
                                                      Paul M. Monteleoni
                                                      Lara Pomerantz
                                                      Daniel C. Richenthal
                                                      Assistant United States Attorneys
                                                      (212) 637-2431/2219/2343/2109

cc:    (by ECF)

       Counsel of Record


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  With respect to the redacted interview memoranda that the defendant discusses in his extension
request, for example, the Government initially, on December 28, 2023, disclosed portions of
potential witness statements that closely tracked the relevant interview memoranda (a form
substantially similar to a prior request by the defendant for quotations from those memoranda).
On January 2, 2024, the defendant requested the redacted memoranda themselves, which the
Government indicated on January 4, 2024, that it would consider producing as a courtesy (despite
not being required to do so), ultimately resulting in a January 12, 2024 production after the
redactions were completed. The Government also notes that the already modest 209-page total of
these memoranda substantially overstates their volume, given that they are redacted and disclose
substantially the same information as that the Government disclosed weeks earlier in a 14-page
letter. The Government further notes that the pertinent documents with respect to a confidential
source (the “CS”) were produced in response to a defense request as a courtesy, notwithstanding
that the search warrant affidavit of June 15, 2022 that the defendant cited in making his request
referred to a recorded conversation of the CS, the recording of which was previously produced to
the defense in discovery, and that was mentioned in only a single paragraph of a 110-paragraph,
92-page affidavit.
